                    Case 19-17664-LMI       Doc 44     Filed 08/28/19    Page 1 of 3




                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                        Miami Division

IN RE:                                                      CASE NO. 19-17664-LMI

TIMOTHY E. SALLY                                            CHAPTER 13
SSN: XXX-XX-6751

     Debtor.
_________________/

                           AMERICAN INVESTMENT SERVICES, LLP.
                         OBJECTION TO CONFIRMATION OF DEBTOR’S
                                    CHAPTER 13 PLAN

         AMERICAN INVESTMENT SERVICES, LLP. (“Secured Creditor”) by and through

undersigned counsel, files this Objection to confirmation of Debtor’s Chapter 13 Plan, and in

support thereof states as follows:

         1.       On June 10, 2019, Timothy E. Sally (“Debtor”) commenced this bankruptcy

              case by filing a petition for relief under Chapter 13.

         2.      The Secured Creditor holds a security interest in Debtor’s real property located

              at 1841 N.W. 67th Street, Miami, FL 33147 (the “Property”), by virtue of a

              Mortgage which is recorded in Official Records Book 25199 Page 1653 in the

              official records of Miami Dade County, Florida and re-recorded on January 31,

              2018, in Official Records Book 30848 Page 266, in the Public Records of Miami

              Dade County, Florida.

         3.      The Secured Creditor will be filing a Proof of Claim.

         4.      Debtor’s Chapter 13 Plan (the “Plan”) seeks to modify Secured Creditor’s rights

              under the subject loan documents. The Plan provides for Secured Creditor’s claim

              under the cramdown provisions.
              Case 19-17664-LMI    Doc 44    Filed 08/28/19    Page 2 of 3




                           OBJECTION TO CRAMDOWN TREATMENT

5.       Debtor’s proposed Plan seeks to modify Secured Creditor’s right under the

      subject loan documents.

6.       Debtor’s Plan is not confirmable until such time as the Debtor’s Motion to Value

      and Determine Secured Status of Lien on Real Property [DE 26] is resolved.

7.       Secured Creditor not only disputes the Debtor’s contention that the fair market

      value of the Property is $105,000.00, but also objects to the proposed treatment of

      its security interest.

8.       Secured Creditor objects to the proposed cramdown treatment reflected in the

      Plan. Secured creditor disputes the value proposed by the Debtor and requests an

      opportunity to conduct its own evaluation and appraisal of the Property. Secured

      Creditor requests that the Debtor produce a copy of the good faith appraisal

      exhibiting that the subject property is valued at the amount as alleged by the

      Debtor.

                                  RESERVATION OF RIGHTS

9.       The Plan fails to provide for Secured Creditor’s prepetition arrearages and fails

      to accurately state the correct total secured claim amount. Therefore, the Plan is

      not in compliance with requirements of 11 U.S.C. §1322(b)(3) and 11 U.S.C

      §1325(a)(5) and cannot be confirmed.

10.      The Secured Creditor objects to the Plan and to any plan which proposes to

      pay anything less than the anticipated pre-petition arrearage over the life of the

      plan.
                  Case 19-17664-LMI       Doc 44    Filed 08/28/19   Page 3 of 3




      11.      The Secured creditor reserves the right to supplement this Objection at or prior

            to any hearings scheduled for confirmation.

      12.      The Secured Creditor has incurred additional attorney’s fees and costs and

            requests same for having to file this objection.

               WHEREFORE, Secured Creditor respectfully requests the entry of an Order

            which denies confirmation of the Plan unless such plan is amended to overcome

            the objections of Secured Creditor as stated herein.




                                CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that a true and correct copy of the Objection to confirmation of
Debtors’ Chapter 13 Plan was served electronically or by mail on Nancy Neidich, Trustee,
P.O. Box 279806, Miramar, FL 33027 and Maria Alvarez, Esq., Legal Services of Greater
Miami, Inc., 4343 West Flagler Street #100, Miami, FL 33134 on August 28, 2019.

                                                          Respectfully Submitted,
                                                          SABRINA CHASSAGNE, P.A.
                                                          Attorney for Secured Creditor
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                                                          By: s/Sabrina Chassagne
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